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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF GEORGIA
                                   SAVANNAH DIVISION

--------------------------------------------------------------- x
DARRYL SCOTT STINSKI,                                           :
                                                                :
                  Petitioner,                                   :
                                                                :    Civil Action No. 4:18-cv-66
BENJAMIN FORD, Warden Georgia Diagnostic :
and Classification Prison, and GREGORY C.                       :    THIS IS A CAPITAL CASE
DOZIER, Commissioner Georgia Department of :
Corrections,                                                    :
                                                                :
                  Respondents.                                  :
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      PETITIONER’S MOTION TO ALTER OR AMEND THE JUDGMENT UNDER
                 FEDERAL RULE OF CIVIL PROCEDURE 59(e)




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                                Attorneys for Petitioner Darryl Scott Stinski
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       Petitioner Darryl Scott Stinski, pursuant to Federal Rule of Civil Procedure 59(e),

respectfully urges this Court to alter or amend its Final Judgment, Doc. 73, based on the Court’s

Order entered on December 15, 2021, Doc. 72 (“Order”), denying habeas corpus relief. The Court

also denied a certificate of appealability on each of Mr. Stinski’s claims, although the parties did

not brief that issue. Even if the Court otherwise denies relief, it should alter the judgment to grant

Mr. Stinski a certificate of appealability under 28 U.S.C. § 2253(c) on each of his claims. In

support of his motion, Mr. Stinski makes the following arguments.

                                           ARGUMENT

I.     THE COURT’S DENIAL OF MR. STINSKI’S CLAIM FOR INEFFECTIVE
       ASSISTANCE OF COUNSEL AT THE PENALTY PHASE OF HIS CAPITAL
       TRIAL IS BASED ON MANIFEST ERRORS OF FACT AND LAW

       A.      The Court Overlooked the Critical Distinction Between Mr. Stinski’s Social
               History and the Missing Explanation for His Criminal Conduct

       The Court’s denial of Mr. Stinski’s claim for ineffective assistance of counsel at the penalty

phase ignores trial counsel’s failure to connect the dots between the experts’ testimony and Mr.

Stinski’s actions. In focusing on the similarities between the testimonies of Drs. Weilenman,

Garbarino, Ash, and James, the Court incorrectly conflates Mr. Sparger’s having presented expert

testimony with his having effectively presented an argument to the jury, which he did not.

       Trial counsel had evidence available to him with which to connect the dots at the sentencing

phase, but he inexplicably failed to develop and present that evidence. As the state habeas court

found, “Petitioner presented compelling scientific evidence which could have been presented at

trial to demonstrate that Petitioner's impulsive behavior and susceptibility to the influence of

[Dorian O’Kelley] was related to the lack of development of Petitioner's near adolescent brain,”

Doc. 27-20 at 4-5 (emphasis added), and, “It is true trial counsel did not present the type of

scientific evidence” at the sentencing phase “to ‘connect the dots’ between Petitioner's conduct
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and his adolescence.” Id. at 5. This Court’s order similarly recognized that Dr. Ash and Dr.

Garbarino “provided more detailed, scientific-based explanations of the same conclusions that Dr.

Weilenman reached” and that “the testimony [of Dr. James] was more rooted in science and

possibly more convincing than Dr. Weilenman’s testimony.” Doc. 72 at 28, 30 (emphasis added).

But because Dr. Weilenman testified to the same ultimate facts about Mr. Stinski’s mental status

as Drs. Garbarino, Ash, and James, the Court determined that the state habeas court did not err in

finding that Mr. Sparger was not deficient for failing to provide testimony from the latter experts

at sentencing.

       This determination misses the crux of trial counsel’s ineffectiveness at the sentencing stage.

The Court’s determination that Dr. Weilenman testified to the same facts as the other experts not

only ignores that Drs. Garbarino, Ash, and James presented more detailed and science-based

opinions, but also does not negate that it was critical for Mr. Sparger to present evidence to make

clear to the jury why those facts explained Mr. Stinski’s actions and inactions. “The importance of

counsel's role in this regard cannot be overstated . . . . Counsel in capital cases must explain to the

jury why a defendant may have acted as he did--must connect the dots between, on the one hand,

a defendant's mental problems, life circumstances, and personal history and, on the other, his

commission of the crime in question.” Hooks v. Workman, 689 F.3d 1148, 1204 (10th Cir. 2012).

       In Workman, the Tenth Circuit reversed the denial of habeas relief on ineffective assistance

of counsel grounds because, among other reasons, counsel “made little effort to connect [the

expert’s] diagnosis to the circumstances of the crime.” Id.; see also Jefferson v. GDCP Warden,

941 F.3d 452, 486 (11th Cir. 2019) (affirming habeas relief where “the jury was deprived of

extensive evidence tending to show that [petitioner] suffers from brain damage that, significantly,

made it difficult for him to control his behavior” and “experts expressly testified that [petitioner]




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is less morally culpable for his actions precisely because he is less able to control himself than

would an unimpaired individual” because that evidence “bears directly on [petitioner]’s moral

culpability and appreciably weakens whatever reasons the jury had for imposing a death

sentence”). Further, in Lopez v. Att’y Gen., 845 F. App’x 549, 552-53 (9th Cir. 2021), the Ninth

Circuit affirmed habeas relief where the state court failed to consider, in part, trial counsel’s failure

to connect for the jury the petitioner’s actions to his difficult childhood. Similarly, Mr. Stinski’s

trial counsel failed to connect the dots between Mr. Stinski’s mental state and his actions, and

therefore deprived the jury of critical evidence about his moral culpability.

        The Court relies on the wrong principle to deny Mr. Stinski’s claim of ineffective assistance

of counsel. The Court compares Mr. Stinski’s case to those in which trial counsel did virtually

nothing to prepare for the penalty phase of a capital trial. But, the Supreme Court has “never held

that counsel’s effort to present some mitigation evidence should foreclose an inquiry into whether

a facially deficient mitigation investigation might have prejudiced the defendant.” Sears v. Upton,

561 U.S. 945, 954, 955 (2010) (emphasis in original). And the Supreme Court has “found

deficiency and prejudice in . . . cases in which counsel presented what could be described as a

superficially reasonable mitigation theory during the penalty phase.” Id. at 954 (citations omitted,

emphasis in original). While this case differs from those in which trial counsel presented no

mitigation evidence at the penalty phase, it is a manifest error to determine that this precludes a

finding of ineffective assistance of counsel.

        B.      The Court’s Conclusion that Mr. Stinski’s Trial Counsel Acted Reasonably is
                Manifestly Incorrect

        The Court excused the failure of Mr. Stinski’s trial counsel to retain appropriate expert

assistance based on its conclusion that there is “contradictory evidence” as to whether Mr. Sparger

discussed the need for it with other members of the defense team. Doc. 72 at 26. The Court’s



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conclusion belies both testimony and contemporaneous documentation of the defense team’s

discussions about Mr. Stinski’s mental state and rests on manifest errors of fact.

       Mr. Sparger recalled a meeting with Dale Davis and Dr. Jane Weilenman in which they

discussed additional expert testing after Mr. Sparger learned he would be conducting the mitigation

phase. Doc. 13-15 at 158:12–159:9. That he was unclear on the details of this meeting during his

trial testimony years afterward does not contradict the evidence that his retained experts suggested

having Mr. Stinski evaluated by a neuropsychologist. Contemporaneous emails between Ms. Davis

and Mr. Sparger show their discussions about additional expert assistance. On December 3, 2004,

Ms. Davis wrote to Mr. Sparger, “We probably need a specialist in [developmental issues] to

explain the impulsiveness, lack of judgment, etc,” and identified such a specialist who researched

and testified about adolescent brain development. Doc. 19-9 at 38346. Mr. Sparger replied, “If [the

Supreme Court does] set a specific number in Simmons [Roper v. Simmons, 543 U.S. 551 (2005)],

we can use that along with Adkins [Atkins v. Virginia, 536 U.S. 304 (2002)] . . . to argue that

someone who is mentally under the age of 18 should not be executed.” Doc. 19-9 at 38346.

       Ms. Davis testified that at a subsequent meeting in January 2005, she, Dr. Weilenman, Mr.

Sparger, and his co-counsel, Mr. Schiavone, all agreed that Mr. Stinski “needed to have a

neuropsychological exam” to assess the potential developmental issues and how those issues relate

to “Darryl’s background” and that the defense team “need[ed] to have someone testify to bring all

of these things in and to show the impact, not just the factual information that we had developed,

but what it means and how it impacts somebody.” Doc. 13-19 at 835:7–837:5. The team identified

a potential expert neuropsychologist, and Dr. Weilenman planned to contact him. Id. at 835:7–20.

Dr. Weilenman’s contemporaneous notes corroborate this discussion of the need to retain

additional experts to connect Mr. Stinski’s brain development to his actions. Her notes list several




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experts in the field of adolescent crime along with examples of their scholarship. See Doc. 23-21

at 70747. The email exchange between Mr. Sparger and Ms. Davis, Ms. Davis’s testimony of the

defense team’s meeting, and Dr. Weilenman’s contemporaneous notes set out a plan to engage at

least one additional expert who would tie together the facts of Mr. Stinski’s background, mental

state, and behavior.

       Mr. Sparger’s and Mr. Schiavone’s inability to recall the plan years later does not

contradict the defense team’s documented strategy to seek additional expert assistance. Mr.

Sparger testified that he “wished [he] had known” about Dr. Weilenman’s notes because “this is

the type [of] thing [he] would need to find out[;] was there someone who could present [the

information].” Doc. 13-16 at 304:22–305:9. But rather than seek the answer to that critical

question, neither Mr. Sparger nor Mr. Schiavone communicated with Ms. Davis or Dr. Weilenman

for two years, until just before Mr. Stinski’s trial. Mr. Sparger therefore never received a reminder

of his stated plan to seek additional experts and to connect his client’s mental development with

his actions. He discarded the strategy out of a “failure to investigate thoroughly [that stemmed]

from inattention, not strategic judgment.” Jefferson, 941 F.3d at 481 (quoting Wiggins v. Smith,

539 U.S. 510, 526 U.S. (2003)). Therefore, his “failure . . . to arrange for neuropsychological

testing resulted in the exact kind of non-strategic decision that underscores the unreasonableness

of [his] conduct.” Jefferson, 941 F.3d at 481 (citation omitted); see also Lopez, 845 F. App’x at

552 (“Because counsel’s mitigation strategy was to attribute [the defendant’s] conduct to his

difficult upbringing and resulting psychological state and to ask the jury to give him hope for the

possibility of parole, his failure to introduce readily available expert evidence opining that he could

be capable of rehabilitation and drawing the key causal connections he asked the jury to find was

not a reasonable strategic decision.”).




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        Mr. Sparger, the least qualified member of the defense team assigned to the most important

task, see Doc. 65 at 65–66, admitted that failing to provide the jury with an explanation was

devastating to the prospects for obtaining a life verdict for his client: “During this, [we were] trying

to show a much less culpable state and then . . . try to be able to explain how someone could, you

know, still get caught up, participate in something like that, and try to explain to the jury what

happened, why Darryl didn’t just walk away. And that was the part we had a problem with. We

could show his history, but never got it all to come together.” Doc. 13-15 at 171:6-17. Mr. Sparger

admitted that the brain development mitigation evidence “was what our case was missing”

because, although “we put it out there about the lesser culpability, . . . the jury never had the reason

why, how could that be, you know, an explanation. And this probably would [have provided an

explanation].” Doc. 13-16 at 305:11-306:3. Mr. Sparger’s own testimony shows the diffidence

with which he approached the mitigation phase of his client’s case, and that his failure to connect

the dots was born out of a failure to follow up and present the type of compelling scientific

testimony that Mr. Stinski presented in the state habeas court to have the evidence “all come

together” rather than out of any strategic acumen. The Court manifestly erred in determining that

Mr. Sparger’s deficient memory constitutes “contradictory evidence” and that his failure to seek

additional expert assistance, stemming from his inattentiveness, constituted effective assistance to

Mr. Stinski.

        C.      The Court’s Prejudice Determination is Based on Manifest Errors of Fact
                and Law

        Not only did Mr. Sparger act deficiently, but his deficiencies prejudiced Mr. Stinski. First,

the Court concludes that the evidence against Mr. Stinski “was so strong that it is hard to imagine

that any amount of mitigating evidence could have outweighed it.” Doc. 72 at 33–34. However,

that conclusion is contrary to established federal law that treating highly aggravated cases as



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incapable of producing any sentence other than death would unreasonably discount the mitigation

evidence presented at the postconviction proceedings. Porter v. McCollum, 558 U.S. 30, 42-43

(2009) (holding state court decision unreasonable where it “either did not consider or unreasonably

discounted the mitigation evidence adduced in the postconviction proceeding”); Doc. 65 at 129–

33. Even in the face of outrageously or wantonly vile, horrible, inhuman, or depraved conduct, and

“in cases involving particularly heinous murders, a defendant can be prejudiced by an attorney’s

failure to investigate and present mitigating evidence.” Lambright v. Schriro, 490 F.3d 1103, 1127

(9th Cir. 2007) (“[T]he presentation of mitigating evidence is vital even where . . . the aggravating

evidence is powerful.”); see, e.g., Cooper v. Sec’y, Dep’t of Corr., 646 F.3d 1328, 1356 (11th Cir.

2011) (prejudice where trial counsel failed to investigate and introduce mitigating evidence that

multiple murders “were committed when [the petitioner was 18 years old, [and] under the

substantial domination of [a co-defendant]”).1

        Here, Mr. Stinski is entitled to an individualized sentencing determination based on what

he did and his character, which requires a presentation of neuropsychological assessments not

presented at the sentencing hearing. To rule out consideration of such assessments in its prejudice

determination, on the grounds that Mr. Stinski’s case is highly aggravated, would be a manifest

error of law and fact. See Porter, 558 U.S. at 42–43; Walbey v. Quarterman, 309 F. App’x 795,

804 (5th Cir. 2007) (“[I]f [extremely egregious, heinous and shocking facts] were all that is

required to offset prejudicial legal error and convert it to harmless error, habeas relief . . . would

virtually never be available, so testing for it would amount to a hollow judicial act.”) (citation

omitted)); cf. Romine v. Head, 253 F.3d 1349, 1367-68 (11th Cir. 2001) (“Georgia’s [death




1
 Moreover, the conduct the Court cites as “highly aggravating” mainly relates to actions taken by Dorian O’Kelley.
See Stinski v. State, 691 S.E.2d at 862-63.


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penalty] statute . . . permits the jury in its unbridled discretion to impose a life sentence regardless

of the number or strength of aggravating circumstances.”).

         Second, though the Court describes the testimony of Drs. James, Ash, and Garbarino as

cumulative and duplicative, it remains that the state court found their testimony constituted

“compelling scientific evidence,” Doc. 27-20 at 4–5, and this Court’s statements do not controvert

that finding.2 That the Court thought their testimony was “possibly more convincing than Dr.

Weilenman’s testimony” should cast doubt on the determination that their testimony is cumulative.

Id. Indeed, the Supreme Court has rejected the argument that defendants cannot be prejudiced by

their counsel’s “use of [a less qualified expert] rather than a more qualified expert” simply because

the two experts reach the same conclusion. Hinton v. Alabama, 571 U.S. 263, 275-76 (2014). The

prejudice inquiry requires consideration of “the totality of the evidence evidence—‘both that

adduced at trial, and the evidence adduced in habeas proceeding[s],” Wiggins, 539 U.S. at 536

(citation omitted), and the “compelling scientific evidence” presented in this case is no exception.

Under clearly established federal law, a finding of prejudice is not foreclosed merely because some

evidence submitted at Mr. Stinksi’s postconviction proceeding concerned the same subject matter

as evidence submitted at his trial. Id.; Doc. 65 at 115–16. Yet that is what the Court has done here.

In concluding that the testimony of Drs. James, Ash, and Garbarino is cumulative, the Court

explains that Dr. Weilenman also interviewed Mr. Stinski to reach her opinion, and that Dr.

Weilenman had the “same conclusion.” Doc. 72 at 28, 30. But as the Eleventh Circuit has noted,

“[a]ll things considered, the quality of the mitigation evidence is important.” Maples v. Comm’r,




2
 As the Court stated, Dr. James conducted a neuropsychological examination and “explained how those deficits in
executive functioning contributed to his actions the night of the crime.” Doc. 72 at 30. Dr. Ash’s testimony
“provided more . . . scientific knowledge about . . . how Petitioner’s executive functioning was less than ‘one would
expect from the normal person of his age at that time.’” Id. at 29. Dr. Garbarino’s testimony was “grounded . . . in
scientific research more so than Dr. Weilenman.” Id. at 30.


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Ala. Dep’t of Corr., 792 F. App’x 817, 827 (11th Cir. 2018) (emphasis added). Though Dr.

Weilenman admittedly presented a social history, “what was lacking was an organizing higher-

order concept to . . . highlight and make sense out of the significance of those facts.” Doc. 13-21

at 1411:17-1413:7; see also id. at 1427:14–1429:1; Doc. 65 at 99-101. Dr. Weilenman did not

testify to Mr. Stinski’s specific neurological deficits, the connection between adolescent

impulsivity and culpability, the connection between adolescent peer pressure and culpability, and

the connection trauma and culpability. Doc. 13-17 at 575:7–576:9; Doc. 65 at 100. Thus,

discounting otherwise compelling mitigating evidence presented by Drs. James, Ash, and

Garbarino in the Court’s prejudice determination was a manifest error of law and fact.

       The highly aggravating circumstances of the crime, merely highlight trial counsels’

dubious decision to put the least experienced attorney on their team in charge of the penalty phase

of Mr. Stinski’s case and Mr. Sparger’s decision to retain only Dr. Weilenman against her and Ms.

Davis’s advice, despite foreknowledge that the penalty phase would be critical. Mr. Sparger’s

deficiency in this matter prejudiced Mr. Stinski’s case during the most important stage of his case.

II.    THE COURT’S DENIAL OF A CERTIFICATE OF APPEALABILITY IS BASED
       ON MANIFEST ERRORS OF LAW

       To obtain a certificate of appealability, a petitioner must make “a substantial showing of

the denial of a constitutional right,” 28 U.S.C. § 2253(c)(2), which requires the petitioner to

establish that “reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong.” Slack v. McDaniel, 529 U.S. 473, 484 (2000). A petitioner is not

required “to prove, before the issuance of a COA, that some jurists would grant the petition for

habeas corpus.” Miller-El v. Cockrell, 537 U.S. 322, 328 (2003). Rather, “[t]he question is the

debatability of the underlying constitutional claim, not the resolution of that debate.” Id. at 342.

“[A] claim can be debatable even though every jurist of reason might agree, after the COA has



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been granted and the case has received full consideration, that petitioner will not prevail.” Id. at

338; see also Buck v. Davis, 137 S. Ct. 759, 774 (2017) (“That a prisoner has failed to make the

ultimate showing that his claim is meritorious does not logically mean he failed to make a

preliminary showing that his claim was debatable.”); Barefoot v. Estelle, 463 U.S. 880, 893 (1983)

(“In a capital case, the nature of the penalty is a proper consideration in determining whether to

issue a certificate . . . .”).

         Thus, a petitioner is entitled to a certificate of appealability where the district court decision

on a constitutional issue raised by petitioner conflicts with decisions of other courts. See Lozada

v. Deeds, 498 U.S. 430, 432 (1991) (holding that Court of Appeals erred in denying a certificate

of probable cause where “at least two Courts of Appeals have presumed prejudice in this situation”

contrary to the district court ruling); Busby v. Davis, 677 F. App’x 884, 890 (5th Cir. 2017)

(granting a certificate of appealability where “there is a split among the Circuits as to” the

constitutional issue raised by petitioner); Wilson v. Sec’y Pa. Dep’t of Corr., 782 F.3d 110, 115

(3d Cir. 2015) ( “the Sixth Circuit’s decision . . . —which conflicts with the District Court’s

decision in this case—demonstrates that the issue Wilson presents is ‘debatable among jurists of

reason’” (quoting Lozada, 498 U.S. at 432)); Lambright v. Stewart, 220 F.3d 1022, 1027–28 (9th

Cir. 2000) (“the fact that another circuit opposes our view satisfies the standard for obtaining a

COA”).

         A.       The Court Should Alter or Amend the Judgment to Grant Mr. Stinski a
                  Certificate of Appealability on His Ineffective Assistance Claim

         In Lopez and Workman, the Ninth and Tenth Circuits, respectively, granted habeas relief

under similar circumstances. Lopez, 845 F. App’x at 554 (affirming habeas relief, in part, because

counsel “fail[ed] to introduce readily expert evidence opining that [defendant] could be capable of

rehabilitation and [failed to] draw[] the key causal connections he asked the jury to find”);



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Workman, 689 F.3d at 1204 (reversing denial of habeas relief on ineffective assistance of counsel

grounds even though counsel presented some mental health evidence during the penalty phase,

among other reasons, because counsel “made little effort to connect Dr. Murphy’s diagnosis to the

circumstances of the crime” and “[t]he importance of counsel’s role in this regard cannot be

overstated”). Considering these decisions, it is thus at least debatable whether Mr. Stinski’s

ineffective assistance of counsel claim is meritorious.

       The Court in its Order applied 28 U.S.C. §§ 2254(d)(2) and 2254(e)(1) to require that Mr.

Stinski prove that the state court’s decision was based on an unreasonable determination of the

facts based on the state court record and to prove by clear and convincing evidence that the facts

found by the state court were incorrect. Doc. 72 at 17. The Third and Ninth Circuits take a different

view of how those AEDPA sections apply. See Doc. 71 at 11–12 (discussing Taylor v. Maddox,

366 F.3d 992, 999 (9th Cir. 2004), and Lambert v. Blackwell, 387 F.3d 210, 235 (3d Cir. 2004),

which reflect that “§ 2254(d)(2) . . . does not require the petitioner to prove that factual findings

are unreasonable by clear and convincing evidence” and that “§ 2254(e)(1) . . . applies to

independent fact-finding by federal courts where that is necessary because the federal court has

considered evidence outside the state habeas court record”). The Supreme Court has granted

certiorari to resolve the proper application of those AEDPA sections twice, but on both occasions

failed to resolve the issue. See Wood v. Allen, 558 U.S. 290, 300 (2010) (“Although we granted

certiorari to resolve the question of how §§ 2254(d)(2) and (e)(1) fit together, we find once more

that we need not reach this question . . . .”); Miller-El, 537 U.S. at 341 (“It was incorrect for the

Court of Appeals, when looking at the merits, to merge the independent requirements of

§§ 2254(d)(2) and (e)(1)” because “[t]he clear and convincing evidence standard is found in

§ 2254(e)(1), but that subsection pertains only to state-court determinations of factual issues, rather




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than decisions.”). Given the divergence of approaches in federal appeals courts and the lack of

resolution from the Supreme Court, the correct application of these AEDPA provisions is

debatable.

       Mr. Stinski is thus entitled to a certificate of appealability on his ineffective assistance of

counsel claim and the Court should alter its judgment to grant him one.

       B.      The Court Should Alter or Amend the Judgment to Grant Mr. Stinski a
               Certificate of Appealability on His Eighth Amendment Claim

       The Court in its Order determined that a rule applying Roper v. Simmons, 543 U.S. 551

(2005), to prohibit the execution of defendants who are the functional equivalent of juveniles

would be retroactive on collateral review under Teague v. Lane, 489 U.S. 288 (1989). Doc. 72 at

70 (“Such an extension would create a ‘new rule’ for purposes of the Teague analysis in that it has

not been previously dictated by federal law and would extend Roper’s ruling to a novel set of

facts”). But the Court stated that the “analysis does not end there,” because “the Court must

determine whether the AEDPA’s standard of review under 28 U.S.C. § 2254(d)(1) applies to new

rules of constitutional law that fall under one of the exceptions to Teague.” Id. The Court concluded

that AEDPA barred federal review because at the time of the state habeas court decision, there was

no clearly established federal law prohibiting Mr. Stinski’s execution. See id. at 72–78. But, as the

Court acknowledged, “neither the Supreme Court nor the Eleventh Circuit have directly answered

this question.” Id. at 71. As the answer to the question of the application of AEDPA to claims that

the Eighth and Fourteenth Amendments bar the execution of defendants who are the functional

equivalent of juveniles is at least debatable, Mr. Stinski is entitled to, and the Court should alter

its judgment to grant him, a certificate of appealability.




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                                         CONCLUSION

       For the foregoing reasons, the Court should alter or amend its Final Judgment denying Mr.

Stinski habeas corpus relief on his claim for ineffective assistance of counsel, and, alternatively,

should alter its judgment to grant Mr. Stinski a certificate of appealability on each of his claims.



                                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing has been filed on January 14, 2022 using the

Court’s CM/ECF filing system which will send notice of electronic filing to all parties registered

with the system.



                                             /s/ Richard K. Hines, V
                                             Richard K. Hines, V
                                             Georgia Bar No. 356300




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